Case 8:19-cv-00710-MSS-TGW Document 267 Filed 03/11/21 Page 1 of 1 PagelD 7160

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UMG RECORDINGS, INC., ef al.,

Plaintiffs.
V. CASE NO. 8:19-cv-710-MSS-TGW

BRIGHT HOUSE NETWORKS, LLC,

Defendant.
/

 

ORDER

THIS CAUSE came on for consideration upon the Joint Motion to
Extend Deadline to Produce Discovery Documents (Doc. 266). The parties request
authorization to extend by one month the March 15, 2021, deadline to complete
production of documents they have agreed to produce in response to discovery
requests (id.).

It is, upon consideration,

ORDERED:

That the Joint Motion to Extend Deadline to Produce Discovery
Documents (Doc. 266) is GRANTED. Accordingly, the parties have up to, and
including, April 15, 2021, to complete production of documents responsive to
outstanding discovery requests.

(&
IO day of March, 2021.

Pras, 4 WO

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

DONE and ORDERED at Tampa, Florida, this

 
